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AO 91 (Rev 8/01) Criminal Complaint


                                      United States District Court
            SOUTHERN                               DISTRICT OF                                                  TEXAS
   UNITED STATES OF AMERICA                      McAllen   Division
                       V.                      United States Courts                 CRIMINAL COMPLAINT
              Jozeline GARCIA                Southern District of Texas                          Case Number: M-22- 1109 -M
                                                      FILED
                    YOB: 2003                     June 04, 2022
                    COC: United States     Nathan Ochsner, Clerk of Court

        I the undersigned complainant, state the following is true and correct to the best of my
knowledge and belief. On or about              June 4, 2022             in        STARR                                 County, in
the            Southern            District of          Texas          defendant(s) did,

knowing and willfully make a materially false statement to a United States official, by claimining a false identity
and citizenship for a minor whose entry was attempted to be further into the United States,




in violation of Title         18       United States Code, Section(s)                  1001
I further state that I am a(n) Customs and Border Protection Officer and that this complaint is based on the
following facts:

On June 4, 2022, Jozelin GARCIA, a United States citizen, arrived via pedestrian lane at the Roma, Texas
Port of Entry to make entry to the United States from Mexico and attempted to transport into the United States
through the Roma, Texas Port of Entry one undocumented alien child (male, age 7 months), actual Mexican
Citizen, by presenting him as United States citizen with a Texas birth certificate, through means of document
false statement. In order to deceive United States Customs and Border Protection officers, the defendant
presented a Texas birth certificate bearing the name A.C.Jr., date of birth 02/02/2022, at pedestrian lane. The
defendant and child were referred to secondary and, during secondary inspection, the defendant freely
admitted that she attempted to smuggle the child, with true identities J.J.O.A., into the United States, from the
Roma, Texas Port of Entry to Roma, Texas, by presenting a Texas birth certificate while knowing that
J.J.O.A. was an undocumented alien child. The defendant further stated that she knew that J.J.O.A. did not
have legal status to be in or enter the United States, but the defendant admitted to having agreed to transport
J.J.O.A. into the United States for private financial gain. The defendant claimed to have knowingly made
these false claims and statements to the CBP officers to attempt to further the minor's illegal entry into the
United States.

Continued on the attached sheet and made a part of this complaint:                                        Yes           X   No


 Approved By AUSA:          M. Phelps

Submitted by reliable electronic means, sworn to &                        s/ Mario E. Canales
attested to telephonically per Fed.R.Cr.P. 4.1, &                         Signature of Complainant
probable cause found on                                                   Mario E. Canales                         CBPO-Enforcement
                                                                          Printed Name of Complainant
June 4, 2022           @ 2:11 p.m.                             at         McAllen, Texas
Date                                                                      City and State
J. Alaniz
U.S. Magistrate Judge
Name and Title of Judicial Officer                                        Signature of Judicial Officer
